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 UNITED STATES DISTRICT COURT
 SOUTHERN DISTRICT OF NEW YORK
 --------------------------------------------------------------X
 TRISURA INSURANCE COMPANY,
                                                                   Civil Action No. 1:23-cv-11053-GWH-JW
                           Plaintiff,

                  –against–

 BIGHORN CONSTRUCTION AND                                            AFFIRMATION IN SUPPORT OF
 RECLAMATION, LLC; BIGHORN                                          MOTION FOR ADDITIONAL TIME
 INVESTMENTS AND PROPERTIES, LLC;                                      TO SERVE THE SUMMONS
 BIGHORN SAND & GRAVEL LLC;                                           AND AMENDED COMPLAINT
 BRIDGELINK COMMODITIES LLC;                                            ON TWO DEFENDANTS
 BRIDGELINK ENGINEERING LLC;
 BRIDGELINK INVESTMENTS, LLC;
 BRIDGELINK RENEWABLE ENERGY
 DEVELOPMENT LLC; BRIDGELINK
 RENEWABLE ENERGY INVESTMENTS LLC;
 INTERMOUTAIN ELECTRIC SERVICE, INC.;
 COLE WAYNE JOHNSON; CORD HENRY
 JOHNSON; CASSIE HAMILTON,

                            Defendants.
 --------------------------------------------------------------X

STATE OF NEW YORK  )
                   ) .ss.:
COUNTY OF NEW YORK )

                 DENNIS O’NEIL COWING, declares under penalty of perjury pursuant to 28

U.S.C. § 1746 that the following is true and correct.

        1.       I am an attorney duly admitted to practice law before the courts of the State of New

York and this Court. I am Of Counsel to the law firm McElroy, Deutsch, Mulvaney & Carpenter,

LLP, attorneys for Plaintiff, Trisura Insurance Company (“Trisura”).

        2.       I make this affirmation in support of Trisura’s application for additional time to

serve the Summons and Amended Complaint in this action on Cole Wayne Johnson (“Cole”) and

Intermountain Electric Service, Inc. (“Intermountain”) pursuant to Rule 4(m) of the Federal Rules
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of Civil Procedure for an additional ninety (90) days.

             a. Numerous attempts to serve Mr. Johnson by the rules as to service of process on an

                individual under Rule 4 of the Federal Rules of Civil Procedure, Section 308 of the

                New York Civil Practice Law and Rules and Rule 106 of the Texas Rules of Civil

                Procedure have been made, but he has not cooperated in those attempts.

             b. Several efforts to serve Corporate Service Company (“CSC”) as Registered Agents

                for Intermountain Electric Service, Inc. (“Intermountain”) in Texas and Wyoming

                have been made. As set forth herein, additional services were sent to CSC indicating

                the services were directed to Intermountain to cure CSC’s objection, but it is too

                early to know whether CSC will find additional reasons to reject service.

        3.      The Summons and Amended Complaint in this action were filed respectively as

follows. The Summons was filed and issued on December 22, 2023. The Amended Complaint was

filed on January 10, 2024. (Copies of the Summons and Amended Complaint (collectively

“Complaint”) accompany this affirmation as Exhibit “1.”

        4.      Trisura files this motion before the expiration of the 90-day time period within

which service is to be effectuated, which at the earliest is on March 21, 2024 the date ninety (90)

days after the date of the filing of the original Complaint and request for a Summons on December

20, 2024. The original Complaint filed was rejected for a filing error and was also subsequently

amended and refiled. The initial Summons was issued by the Clerk’s Office on December 22,

2023.

        5.      The operative, Amended Complaint was filed on January 10, 2024, and the 90-day

time-period from that date would expire on April 9, 2024. The Summons, Amended Complaint,

Civil Cover Sheet and Amended or Supplemental Rule 7.1 Statement (“Summons and Amended



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Complaint”) were sent to process servers for service on Defendants. It is respectfully requested

that the Court extend Trisura’s time to serve Defendants Cole and Intermountain with the

Summons and Amended Complaint for a reasonable time in the event that either of them is not

otherwise served before expiration of the ninety (90) days provided for in Rule 4(m).

       6.      All of the Defendants have been served with the Summons and Complaint, except

Cole and possibly Intermountain. The affidavits of service on the other Defendants have been filed

in PACER as ECF Doc. Nos. 11-27, and Clerk’s Certificates of Default have been entered against

them. (See ECF Doc. Nos. 39-48 on the Docket sheet in the accompanying Exhibit “2.”)

                            Attempts to Serve Cole Wayne Johnson

       7.      With respect to Cole Wayne Johnson (“Cole”), he is and/or was an officer, director,

manager and/or organizer of all of the business entity Defendants herein and so identified in the

corresponding exhibits containing pertinent pages obtained from Texas and Wyoming Secretary

of State Offices. Some of the addresses where service was attempted on Cole are also those of his

businesses. Before discussing the service attempts on Cole, his position with and the addresses of

his businesses and/or addresses he furnished to public officials and/or Trisura are provided as

background to the places where service was attempted on Cole so far. For convenience, the

pertinent company’s filings with the Texas and Wyoming Secretaries of State are provided in the

separate Exhibits identified below. It is believed receipt of the service papers by the registered

agents of those businesses undoubtedly made Cole aware of Plaintiff’s action against him and its

efforts to serve him.

            a. Bighorn Construction and Reclamation LLC was organized in Wyoming and

               identified as having an address in Douglas, Wyoming. Cole is identified as a

               Manager of this Defendant. (Exhibit “3” hereto from the Texas Secretary of State).



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      A Clerk’s Certificate of Default has been entered against this Defendant at ECF

      Doc. No. 39.

   b. Bighorn Investments and Properties, LLC was organized in Wyoming and

      identified as having an address in Douglas, Wyoming as well as a mailing address

      at 777 Main Street, Suite 2800, Fort Worth, Texas. Cole is identified as an organizer

      of this Defendant. (Exhibit “4” hereto from the Wyoming Secretary of State). A

      Clerk’s Certificate of Default has been entered against this Defendant at ECF Doc.

      No. 40.

   c. Bighorn Sand & Gravel LLC was organized in Delaware and identified as having

      an address at 777 Main Street, Suite 2800, Fort Worth, Texas. Cole is identified as

      Chairman of this Defendant with the same address. (Exhibit “5” hereto from the

      Texas Secretary of State). A Clerk’s Certificate of Default has been entered against

      this Defendant at ECF Doc. No. 41.

   d. Bridgelink Commodities LLC was organized in Delaware and identified as having

      an address at 777 Main Street, Suite 2800, Fort Worth, Texas. Cole is identified as

      Chairman of this Defendant. (Exhibit “6” hereto from the Texas Secretary of State).

      A Clerk’s Certificate of Default has been entered against this Defendant at ECF

      Doc. No. 42.

   e. Bridgelink Engineering LLC was organized in Delaware and identified as having

      an address at 306 W. Wall Street, Suite 500, Midland, Texas. Cole is identified as

      CEO and President of this Defendant with an address at 777 Main Street, Suite

      2800, Fort Worth, Texas. (Exhibit “7” hereto from the Texas Secretary of State).

      A Clerk’s Certificate of Default has been entered against this Defendant at ECF



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                 Doc. No. 43.

             f. Bridgelink Investments LLC was organized in Texas and identified with an address

                 at 777 Main Street, Suite 3000, Fort Worth, Texas. Cole is identified as Member

                 and Director of this Defendant with an address at 306 W. Wall Street, Suite 500,

                 Midland, Texas. (Exhibit “8” hereto from the Texas Secretary of State). A Clerk’s

                 Certificate of Default has been entered against this Defendant at ECF Doc. No. 44.

             g. Bridgelink Renewable Energy Development LLC was organized in Delaware and

                 identified as having an address at 777 Main Street, Suite 2800, Fort Worth, Texas.

                 Cole is identified as Chairman of this Defendant at the same address. (Exhibit “9”

                 hereto from the Texas Secretary of State). A Clerk’s Certificate of Default has been

                 entered against this Defendant at ECF Doc. No. 45.

             h. Bridgelink Renewable Energy Investments LLC was organized in Delaware and

                 identified with an address at 777 Main Street, Suite 2800, Fort Worth, Texas. Cole

                 is identified as Chairman of this Defendant at the same address. (Exhibit “10”

                 hereto from the Texas Secretary of State). A Clerk’s Certificate of Default has been

                 entered against this Defendant at ECF Doc. No. 46.1

             i. Intermountain Electric Service, Inc. was formed in Wyoming with a Wyoming

                 address. Cole is identified as President/Director of this Defendant. Cole’s address

                 with respect to this Defendant is at 1301 Old Tin Top Road, Weatherford, Texas.

                 In addition, a Registered Agent is identified by both the Wyoming and Texas

                 Secretary of State’s offices. Wyoming identifies Intermountain’s Registered Agent

                 as Corporation Service Company, 1821 Logan Avenue, Cheyenne, Wyoming and


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 Clerk’s Certificates of Default have also been entered against Cole Wayne Johnson’s brother and sister-in-law at
ECF Doc. Nos. 47-48.

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               Texas identifies Intermountain’s Registered Agent as Corporation Service

               Company d/b/a CSC-Lawyers Incorporating Service Company, 211 E. 7th Street,

               Suite 620, Austin, Texas. Ongoing efforts to serve Intermountain will be discussed

               after discussing efforts to serve Cole. (Exhibit “11” hereto are filings from the

               Wyoming and Texas Secretary of State).

       8.      Accompanying this affirmation as Exhibit “12”–“24” are true copies of the

Affidavits of Non-Service and/or partial service on Cole sworn to on the dates indicated that are

available at the time of writing.

                   a. Service was attempted on Cole at 4204 S. County Road 1128, Midland,

            Texas 79706. This address was given by Defendant Cole on the execution page of his

            Indemnity Agreement. (Exhibit A to Exhibit “1,” Doc. No. 9-1, page 20 of 22.) Process

            was initially attempted to be served on January 12 and 13, 2024, but the process server

            advised that there is no such street number, 4204, on S. County Road 1128 (contained

            in Exhibit “12” hereto). A follow-up service was attempted at that address by a different

            process server more familiar with the area who located the house, spoke to the current

            owner, Eileen, and was “informed that she purchased the property 3 years ago from

            Cole Wayne Johnson.” (The relevant affidavits of non-service are collected in Exhibit

            “12” hereto.) That would mean she purchased 4204 S. County Road 1128 in Midland,

            Texas in 2021, one year before Cole signed his Indemnity Agreement with Trisura

            giving that address as his address. (Compare Cole’s execution page to the Indemnity

            Agreement, Exhibit A to Exhibit “1,” Doc. No. 9-1, page 20 of 22 to the Affidavit of

            Attempted Service sworn to on March 6, 2024 in Exhibit “12.”)

                   b. Service was attempted on Cole at 63 Maple Drive, Douglas, Wyoming



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   82633 on January 16, 2024. This was a recent address located in People Search for Cole

   and was thought to relate to his Wyoming businesses identified in ¶¶ 11(a), (b) and (i)

   above. The process server dispatched to serve Cole at this address was advised by the

   current female resident that she brought the property from Cole in 2020 and believed

   he moved to Texas. (The pertinent pages of the People Search document and the

   affidavit of non-service are contained in Exhibit “13” hereto.)

          c. Service was attempted on Cole at 306 W. Wall Street, Suite 500, Midland,

   Texas 79701 on January 19, 2024. This was the address for Cole’s businesses identified

   in ¶¶ 11(e) and (f) above. This was also Cole’s personal address given to the Texas

   Secretary of State as a Member and Director of Bridgelink Investments, LLC identified

   in ¶ 11(e). The process server advised that Suite 500 of 306 W. Wall Street, comprising

   the entire floor at that address, was under construction when he attempted service and,

   therefore, was unable to serve Cole. (The affidavit of non-service is contained in

   Exhibit “14” hereto.)

          d. Service was attempted on Cole at 777 Main Street, Suite #3000, Fort Worth,

   Texas 76102 on February 16, 2024. This was the address for Bridgelink Commodities

   LLC, Bridgelink Investments, LLC, Bridgelink Renewable Energy Development LLC

   and Bridgelink Renewable Energy Investments LLC provided to Trisura in the

   Indemnity Agreement (Exhibit A to Exhibit “1” hereto, Doc. No. 9-1, pages 14, 16, 17

   and 18 of 22). This was also the address for Bridgelink Investments LLC (¶ 11(f)) and

   the address posted online for Bridgelink Investments, as advertised by Cole. The

   process server advised that a key fob was needed to gain entrance onto the 30th floor

   (i.e. exit the elevator). The building’s security and property manager told the process



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   server that the tenants have a clause in their lease to not allow anyone up without a

   specific key fob for floor access. (A copy of the internet online posting relating to

   Cole’s advertising of Bridgelink Investments location as Suite 3000 at 777 Main Street

   and his position as President at that address and the affidavit of non-service at Suite

   3000 are contained in Exhibit “15” hereto.)

          e. Service was attempted on Cole at 777 Main Street, Suite #2800, Fort Worth,

   Texas 76102 on March 1, 2024. This was the address of Bighorn Construction and

   Reclamation, LLC, Bighorn Investments and Properties, LLC, Bighorn Sand & Gravel

   LLC and Bridgelink Engineering LLC provided to Trisura in the Indemnity Agreement.

   (Exhibit A to Exhibit “1,” Doc. No. 9-1, pages 11, 12, 13 and 15 of 22). This was also

   the address Cole’s businesses identified in ¶¶ 11(c), (d), (g) and (h) given to the Texas

   Secretary of State and the mailing address for Bighorn Investments and Properties

   (¶11(b)) given to the Wyoming Secretary of State. The process server advised that Suite

   2800 is vacant and took pictures of the Suite that are annexed to his affidavit of non-

   service. His affidavit identified a telephone number to call if in need of assistance,

   which he called and left a message, but did not receive a return call. (The affidavit of

   non-service at that address and Suite number and images are contained in Exhibit “16”

   hereto.)

          f. Service was attempted on Cole at 1301 Old Tin Top Road, Weatherford,

   Texas 76087 on January 30, 2024 at 3:22 p.m., February 2, 2024 at 1:50 p.m., February

   14, 2024 at 12:50 p.m., February 17, 2024 at 11:05 a.m. and February 19, 2024 at 7:21

   p.m. This is the address for Cole as President and Director of Intermountain set forth

   in the Wyoming Secretary of State’s Filing Information for Intermountain dated



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             September 13, 2023 and in Intermountain’s Annual Report to the Wyoming Secretary

             of State dated July 1, 2023. The process server advised that there is a call box and

             locked gate at the property at the driveway. The server also stated that the gate is locked

             and there was no answer on the call box to gain access. (The affidavit of non-service at

             that address together with photo images provided by the process server are contained

             in Exhibit “17” hereto. Additional images of the house on the property at that address

             were obtained from the Land.com site and are also contained in Exhibit “17.”) Please

             note the Land.com captured image advises that the house is “off market.”

                      g. Service was also attempted on Cole at 1301 Old Tin Top Road,

             Weatherford, Texas 76087 on February 21, 2024 by a Certified Mailing with Return

             Receipt Requested and a Registered Mailing with Return Receipt Requested both with

             Tracking numbers as set forth in the accompanying Affidavit of Service (Exhibit “18”

             hereto). Texas Rules of Civil Procedure Rule 106(a)(2)2 permits certified or registered

             mailing, return receipt requested, as an approved method of service. Under court

             interpretation of the Texas Rule, however, a signature for receipt on the return receipt

             is required. The process server has not reported receipt of the return receipts to confirm

             whether service was successful. (A copy of the mailing affidavit of service together

             with photo images of the mailings prepared by the process server are contained in

             Exhibit “18” hereto.) USPS Tracking updates included in Exhibit “18” indicate

             delivery and redelivery have been attempted, but have not been successful so far.


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 Texas Rule of Civil Procedure 106(a)(2), which is a method of service permitted under Fed. R. Civ. P. Rule 4,
provides in part:
                  (a) Unless the citation or court order otherwise directs, the citation must be served
                  by:
                                                          ***
                  (2) mailing to the defendant by registered or certified mail, return receipt
                  requested, a copy of the citation and of the petition.

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                   Attempted Services on Intermountain Electric Service, Inc.

       9.      An initial service on Intermountain was made by delivering a copy of the Summons

and Amended Complaint to Intermountain’s Registered Agent in Texas, Corporation Service

Company d/b/a CSC-Lawyers Incorporating Service Company, 211 E. 7th Street, Suite 620,

Austin, Texas on January 12, 2024. (A copy of the affidavit of service on that Registered Agent is

contained in Exhibit “19” hereto; see ¶ 11(i) and the Exhibit thereto regarding Intermountain’s

Registered Agents.)

       10.     However, on or about January 25, 2024, almost two weeks after that service, the

Firm received a letter from CSC rejecting the service in Texas. (A copy of that CSC rejection letter

is contained in Exhibit “20.”) I understood the rejection related to the service on Intermountain

after speaking to a representative of CSC and because of all of the Defendants, CSC was only a

Registered Agent for Intermountain.

       11.     Intermountain was again served with the Summons and Amended Complaint by

delivering a copy to Intermountain’s Registered Agent in Wyoming, Corporation Service

Company, 1821 Logan Avenue, Cheyenne, Wyoming on February 6, 2024. (A copy of the affidavit

of service on that Registered Agent, subsequently filed as ECF Doc. No. 13 on February 22, 2024,

is contained in Exhibit “21” hereto; see ¶ 11(i) above and the Exhibit thereto regarding

Intermountain’s Registered Agents.) It was filed in anticipation of requesting a Clerk’s Certificate

of Default when Intermountain’s time to answer had expired a few days later on February 27,

2024. (See Exhibit “2,” hereto the Docket containing the filing information as to that affidavit of

service as item 13.)

       12.     Subsequently, however, that service of the Summons and Amended Complaint on

Intermountain was also rejected by CSC by letter received by the Firm on or about February 26,



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2024, almost three weeks after the second service on CSC. (A copy of that letter from CSC

accompanies as Exhibit “22,” hereto) In that letter, CSC more clearly explained its objection to

the service, which was that “the legal process MUST specifically indicate which party is being

served.”

       13.    After receipt of the second letter, efforts were immediately undertaken to cure

CSC’s objection to the service it received. As more fully discussed in my follow up service of

another copy of the Summons and Amended Complaint as set forth in my “Affirmation of Service

on Registered Agent” dated March 9, 2024 and filed as ECF Doc. No. 49 –49-7, wherein an effort

is made to explain and make clear to the CSC Registered Agent in Wyoming that the service was

being made on Intermountain. (A copy of that Affirmation of Service and the Exhibits thereto

accompanies this Affirmation as Exhibit “23.”) The Court is respectfully referred to that Exhibit

and/or the filed version for a more complete recitation of that effort to cure service on

Intermountain through the Wyoming CSC. In that affirmation of service, I discussed speaking with

a representative of CSC who confirmed that CSC accepted service of papers by Federal Express.

(See Exhibit “23,” Cowling Affirmation ¶ 9, ECF Doc. No. 49.) CSC received this Federal Express

package on February 28, 2024. (See Exhibit 3 to Exhibit “24,” ECF Doc No. 49-5.)

       14.    Also upon receipt of the second CSC letter rejecting service in Wyoming, an earlier

version of my cover letter, together with a copy of the Wyoming Secretary of State, Business

Division’s Filing Information, and the Summons and Amended Complaint clearly identifying

Intermountain Electric Service Inc. as the intended Defendant being served, and CSC’s office at

1821 Logan Avenue in Cheyenne, Wyoming as Intermountain’s Registered Agent (see Exhibit

“11” or Exhibit 2-A to Exhibit “23,” above, ECF Doc. No. 49-3) were compiled and served on

CSC. The Summons was also annotated to clearly specify that Intermountain was the Defendant



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for whom the Summons and Amended Complaint was intended. (A copy of the follow up affidavit

of service on CSC as Registered Agent for Intermountain, sworn to on February 28, 2024, together

with the annotated Summons identifying Intermountain as the intended Defendant is filed as ECF

Doc. No. 50 and is Exhibit “24,” hereto.)

       15.     Given the evident delays in receiving rejection letters from CSC, it cannot be

anticipated whether CSC will object to these further services after expiration of the current 90-day

period. Trisura respectfully requests that the Court grant it additional time to continue its efforts

to serve Defendants Cole and Intermountain if necessary.

       16.     It is respectfully requested that additional time be granted for Trisura to effect

service on Cole Wayne Johnson and Intermountain Electric Service, Inc. for an additional ninety

(90) days under the circumstances.

       17.     No prior request has been made for the relief requested herein.

       WHEREFORE, Trisura respectfully requests that this motion for additional time to serve

the summons and complaint on Cole Wayne Johnson and Intermountain Electric Service, Inc. be

granted, together with such other and further relief as this Court may deem just and proper.

       I declare under penalty of perjury pursuant to 28 U.S.C. § 1746 that the foregoing is true

and correct.

 Dated: March 15, 2024                                /s/ Dennis O’Neil Cowling
                                                      DENNIS O’NEIL COWLING
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